                                                                                                DEC 3 0 2020
                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE                           Clerk, U.S. District Court
                                      AT GREENEVILLE                                   Eastern District of Tennessee
                                                                                               At Greeneville
  UNITED STATES OF AMERICA                       )
                                                 )      No. ~ : :20- Cr-11 <.f
         V.                                      )
                                                 )      JUDGE     UJYK..u--j W tt1'dL--
                                                                                 1

  TAMMY LYNN HAWK                               )

           PLEA AGREEMENT PURSUANT TO RULE ll(c)(l)(C), FED. R. CRIM. P.

         The United States of America, by the United States Attorney for the Eastern District of

  Tennessee, and the defendant, Tammy Lynn Hawk, and the defendant's attorney, E. Lynn

  Dougherty, Esquire, have agreed upon the following:

          1.      The defendant will waive indictment and arraignment and plead guilty to an

  information charging the defendant with the following offenses:

                  a)     Count One. Count one of the information charges the defendant with wire

  fraud in violation of 18 U.S .C. § 1343 . The punishment for this offense is as follows: a term of

  imprisonment of not more than 20 years, a fine of not more than $250,000, or both imprisonment

  and fine, supervised release of not more than three years, a special assessment in the amount of

  $100, forfeiture of assets as set forth below, and restitution to victims of the offense and the United

  States as set forth below.

                  b)     Count Two. Count two of the information charges the defendant with

  aggravated identity theft in violation of 18 U.S.C. § 1028A(a)(l ). The punishment for this offense

  is as follows: a mandatoty te1m of imprisomnent of two years that must run consecutive to any

  other sentence the Court imposes, a fine of not more than $250,000, a mandatory special assessment

  of $100, and a tenn of supervised release of not more than one year to follow any tenn of

  imprisonment.




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                  c)      Count Three. Count three charges the defendant with money laundering in

  violation of 18 U.S.C. § 1956(a)(l )(A)(i). The punishment for this offense is as follows: a term of

  imprisonment of not more than 20 years, a fine of not more than $500,000 or twice the value of the

  property involved in the transaction, whichever is greater, or both imprisonment and fine,

  supervised release of not more than ·three years, a special assessment in the amount of $100,

  forfeiture of assets as set forth below, and restitution to victims of the offense and the United States

  as set forth below.

                  d)      Count Four. Count four charges the defendant with the offense of making

  and subscribing a false tax return, in violation of 26 U.S. C. § 7206( 1). The punishment for this

  offense is as follows: a term of imprisomnent of not more than three years, a fine of not more than

  $250,000, or both imprisonment and fine, supervised release of not more than one year, a special

  assessment in the amount of $100, and forfeiture of assets as set forth below

          2.      The United States also agrees not to further prosecute the defendant in the Eastern

  District of Tennessee for any other criminal offenses committed by the defendant related to the

  charges contained in this information.

          3.      The defendant has read the information, discussed the charges and possible defenses

  with defense counsel, and understands the crimes charged. Specifically, the elements of the

  offenses are as follows:

                  a.      The elements of the offense of wire fraud in violation of 18 U.S.C. § 1343 are

  as follows:

                          (i).       The defendant knowingly devised a scheme to defraud in order to

  obtain money or property, that is using her position as a licensed realtor to swindle and defraud

  potential real estate investors;



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                          (ii).    The scheme included a material misrepresentation or concealment of a

   material fact;

                          (iii).   The defendant had the intent to defraud; and

                          (iv.)    The defendant used wire, radio or television communications or

   caused another to use wire, radio or television communications in interstate commerce in

   furtherance of the scheme.

                    b.   The elements of the offense of aggravated identity theft in violation of 18

   U .S.C. § 1028A are as follows:

                         (i).      The defendant committed the felony offense of wire fraud, as charged

   in the information;

                         (ii).     The defendant knowingly transferred, possessed, or used a means of

   identification of another person without lawful autho1ity;

                         (iii).    The defendant knew the means of identification belonged to another

   person; and

                         (iv).     The transfer, possession, or use of the means of identification was

   during and in relation to the clime charged in the corresponding wire fraud count.

                    c.   The elements of the offense of money laundering are as follows:

                         (i).      The defendant conducted or attempted to conduct a financial

  transaction;

                         (ii).     The financial transaction involved property that represented the

  proceeds of wire fraud;

                         (iii).    The defendant knew that the property involved in the financial

  transaction represented the proceeds of some form of unlawful activity; and



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                           (iv).    The defendant had the intent to promote the carrying on of wire fraud.

                  d.       The elements of the offense of making and subscribing a false tax return are

   as follows:

                           (i).     Defendant made an IRS Form 1040, U.S. Individual Income Tax

   Return for the year 20 I 7 which was false as to a material matter;

                           (ii).    The IRS Form 1040, U.S. hidividual Income Tax Return contained a

  written declaration that it was made under penalty of perjury;

                           (iii).   When defendant made the IRS Fann 1040, U.S. Individual Income

   Tax Return, she knew it contained materially false information; and

                           (iv).    When the Defendant did so, she acted willfully, that is, she intended to

   do something she knew violated the law.

          4.      In support of the defendant's guilty plea, the defendant agrees and stipulates to the

  following facts, which satisfy the offense elements. These are the facts submitted for purposes of

  the defendant's guilty plea. They do not necessarily constitute all of the facts in the case. Other

  facts may be relevant to sentencing. Both the defendant and the United States retain the right to

  present additional facts to the Court to ensure a fair and appropriate sentence in this case.

          At all times pertinent to the Information, defendant was a licensed real estate agent in the

  state of Tennessee. Defendant also held herself out to be affiliated with a Florida Limited Liability

  Company, HomeSource Direct, LLC. On a day-to-day basis, defendant dealt with customers who

  placed their trust and confidence in defendant based upon her status, qualifications, and experience

  as a licensed realtor.

          Beginning no earlier than December 16, 2015, defendant devised a scheme to defraud

  potential real estate investors out of thousands of dollars by misrepresenting to them the ownership



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   status and real price of real properties for purchase and sale. Under her scheme, defendant often

   falsely would tell potential investors (usually current or prior clients) about parcels ofreal property

   that she could arrange to sell, and the investors, in turn, could resell and realize substantial gains.

   Often, defendant would falsely represent that she already had a potential buyer lined up to purchase

   the property at a higher price than the price the investor would pay. Under her scheme, defendant

   routinely advised potential investors that once they agreed to the transaction and paid her the

   amount needed to cover the purchase price, a company called Home Source Direct, LLC would

   purchase the property, sell it to the investor, and the investor could then either sell the prope1ty to a

   buyer defendant already had waiting or could easily "flip" the property and realize substantial

   profits and gains. Under her scheme, defend ant typically would require cash payments and would

   provide the investors with phony contracts reflecting Home Source Direct, LLC as the seJler of the

   property and the victim investor as the purchaser. Investors would provide significant cash

   payments to defendant, thinking they were purchasing a specific parcel of real property.

          In reality, neither defendant nor Home Source Direct, LLC owned the properties defendant

   was offering to sell and on account of which defendant was accepting investors' payments.

   Defendant instead would take the victims' payments and use the funds for her own personal

   expenses or to repay prior victims of her swindle. Many times, defendant used investor funds to

   engage in travel junkets and gambling. Occasionally, defendant would repay an investor, but these

   repayments often were with funds provided by new investors. In essence, defendant was taking

   substantial sums of money for propetties she did not own and could not transfer.

          As part of her scheme, defendant used interstate wire transmissions. For instance, defendant

   routinely communicated with investors and others through an email account,

   hawk.tammy@yahoo .com. Communications to and from this email address take place through



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   Yahoo computer servers located outside the state of Tennessee. Defendant also used form contracts

   provided by Home Source Direct, LLC and engaged in wire transmissions between Tennessee and

   Home Source Direct, LLC in Florida. And, defendant routinely used an electronic document

   signing service with servers located outside the state of Tennessee for document execution purposes.

   Defendant also used sham contracts to hide and conceal the true nature of what she was doing. The

   sham contracts provided a sense oflegitimacy to victim investors, but in reality, defendant was

   simply taking their money.

          Facts Pertaining to Count One (Wire Fraud)

          As part of her scheme, on May 1, 2019, defendant contacted Sidney Mullins and Roy Lewis

   about a property located at 1516 Vance Drive in Bristol, Tennessee. Defendant had listed the

   property as a real estate agent for a seller named Mark Miller who was in Bloomington, Indiana.

   Defendant did not advise Sidney Mullins and Roy Lewis of that fact, though. Instead, she told them

   the property was a good house to tlip, and the price was cheap. Mullins and Lewis went that same

   day to look at the house and told defendant they were interested. Defendant then told them she had

   to have $89,000 for the property, but Mullins and Lewis told her they would give her only $85,000.

   Defendant agreed to take $85,000 for the property, but stated that she had other people waiting, so

   she needed a certified check that day made out to defendant.

          Lewis then went to Eastman Credit Union, got a certified check for $85,000, and gave it to

   defendant. Defendant endorsed the check and deposited the $85,000 check into her own Best

   Checking account at the Knoxville TVA Employee's Credit Union. Defendant promised a quick

   closing in seven to ten days. No closing took place. For weeks, defendant routinely came up with

   difterent excuses for not closing, such as others sending the wrong papers and the LLC papers on

   Home Source being lost.



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                     In order to close the purchase, Mullins and Lewis planned to use an attorney named A.D.

   Jones. A.D. Jones set multiple closing dates, but defendant always made an excuse about why she

   could not make the closing. Defendant routinely used interstate wire transmissions when doing so,

   including transmissions from defendant's Yahoo email account with the address of

   hawk.tarnmy@yahoo.com. For example, in one email dated Jw1e 20, 2019, defendant falsely

   claimed that the property would be titled in the name of the owner of Home Source:


     From:                Tammy I lawk < hawk.lammy@yahoo.com >
     To:                   "adj(rnbtcs.tv" <adj@ble~.tv>
     Date:                 06/20/2019 10:'l7 AM
     Subject: Vance drive


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    \•l ,   L 1,     :-: l. 1..;




                     The closing never took place, and defendant used the monies she received from Mullins and

   Lewis for her own personal use and to repay other victims.

                    Facts Pertaining to Count Two (Aggravated Identity Theft)

                    As part of the wire fraud alleged in count one, above, defendant possessed and used the

   name of victim Sidney Mullins, a means of identification of Sidney Mullins. Specifically, defendant

   forged the name of Sidney Mullins to                                            ~   purchase and sale agreement as the purchaser of real

  property located at 1516 Vance Drive in Bristol Tennessee. In the agreement containing Mullins'

  forged signature, Mullins purportedly agreed to purchase the property from Mark Miller for

  $219,000. In reality, Mullins had provided money to defendant with the understanding he was

  purchasing the property from Home Source Direct, LLC. for $85,000. Mullins never signed any

  contract to purchase the property from Mark Miller, but defendant fraudulently signed Mullins name

  to the purchase and sale agreement as follows:


                                                                                                           7




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                                   - - - - - - - -- - -- -- - -- - -                 --   -   --


                                                  lll.JY~~R


                                                  Offer D<>IC



          Upon seeing this document, Mullins immediately recognized the document was forged

   because the printed terms of the contract correctly spelled his name as "Sidney Mullins," but in the

   forged signature, defendant signed the name as "Sydney Mullins," using a "y" instead of an "i."

          Facts Pertaining to Count Three (Money Laundering)

          Defendant's wire fraud routinely generated cash proceeds in the form of deposits that

   defrauded investors believed they were providing to defendant for the purchase of actual parcels of

   real estate. Often, defendant would deposit these proceeds into her personal Best Checking account

   at her financial institution, Knoxville TVA Employees Credit Union. After depositing the proceeds,

   defendant would then engage in one or more financial transactions with the proceeds . When doing

   so, defendant intended to promote and cany on her scheme, often by disguising new investors'

  money as returns to previous investors.

          An example is defendant's fraud perpetrated on Sydney Mullins and Ray Lewis. On May 1,

  2019, defendant obtained a cashier's check in the amount of $85,000 that was purportedly the

  purchase price for a parcel of real property located at 1516 Vance Drive in Bristol, Tennessee.

  Defendant endorsed the check and deposited that check, which constituted the proceeds of

  defendant's wire fraud, into her Best Checking account at Knoxville TVA Employees Credit Union.

  After depositing the proceeds, defendant then engaged in a series of financial transactions designed

  to promote and continue her ongoing scheme. One of those transactions took place on May 1, 2019,

  and consisted of defendant making a share withdrawal of $35,000 and using those funds to repay a

  victim investor named Kelly Fleenor for money Kelly Fleenor had previously paid to defendant for

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   a prior sham real estate transaction. These transactions are memorialized in the May 2019 bank

   statement for defendant's Best Checking account at Knoxville TVA Employees Credit Union as

   follows :

     05-01     SHARE DEPOSIT .
                                                                    85,000.00                      85,431.64
     05-01 .   SHARE WITHDRAWAL
                                                                                  -40,00_0.:0li   . 45,431°;64 .
     05-01     SHARE WITHDRAWAL
                                                                                  -35,000.00      10,431.64
    .05°02     SHARE .DEPOSIT -- ·


             Facts Pertaining to Count Four (Making and Subscribing a False Tax Return)

             Throughout the course of her scheme, defendant routinely filed false income tax returns that

   omitted the sums she had received by virtue of her scheme or failed to file income tax returns in an

   effort to hide and conceal the ongoing nature of her scheme. Defendant's 2017 tax return is an

   example.

             On or about April 11, 2018, defendant filed with the Internal Revenue Service a Form 4868,

  Application for Automatic Extension of Time To File U.S. Individual Income Tax Return for the

  2017 tax year. Then, on or about January 31, 2019, defendant filed with the Internal Revenue

  Service a Form I 040, U.S. Individual Income Tax Return for the 2017 tax year. That return stated

  that her taxable income for the calendar year 2017 was the sum of $58,037.00, and the amount of

  tax due and owing thereon was the sum of $9,200.00. In fact, as defendant well knew, her taxable

  reported income for the calendar year 2017 did not include money defendant obtained from her

  scheme, and her actual income was the sum of$221,987.00, upon which taxable income an income

  tax of$57,785.00 was due and owing to the United States.

             Specific Offense Characteristic Tax Loss Amount

             Defendant stipulates and agrees that defendant's misrepresentation and failure to disclose her

  relevant income and taxes owed for tax years 2015, 2016, and 2018 constitute relevant conduct for

  purposes of this plea agreement.


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          With regard to tax year 2015, on or about April 12, 2016, defendant filed with the Internal

   Revenue Service a Form 1040, U.S. Individual Income Tax Return. That return stated that joint

   taxable income for tax year 2015 was the smn of $132,386.00, and the amount of tax due and owing

   thereon was the sum of $29,257.00. In fact, as she then and there knew, defendant's reported

   taxable income for the 2015 tax year did not include money defendant obtained from her scheme,

   and her actual income was the sum of $175,226.00, upon which she owed to the United States an

   income tax of$42,71 l.00.

          With regard to tax year 2016, on or about February 27, 2017, defendant filed with the

   Internal Revenue Service a Form 1040, U.S. Individual Income Tax Return. That return stated that

   her taxable income for tax year 2016 was the sum of $5,831.00, and the amount of tax due and

   owing thereon was the sum of $1,315.00. In fact, as she then and there knew, defendant's reported

   taxable income for the 2016 tax year did not include money defendant obtained from her scheme,

   and her actual income for the calendar year was the sum of $44,831.00, upon which she owed the

   United States an income tax of $8,522.00.

          With regard to tax year 2018, defendant failed to file a tax return and thus did not report her

   income at all, including $61,500 in money defendant obtained from her scheme for that year. As

   such, defendant failed to have prepared and timely filed her 2018 Form I 040, U.S. Individual

   Income Tax Return. That return should have stated that her taxable income for tax year 2018 was

   $85,277.00, upon which taxable income was due and owing to the United States an income tax of

   $19,829.00.

          For the purposes of detennining the applicable offense level under USSG §§2Tl.l and 2T4.1,

   defendant stipulates and agrees that the tax loss resulting from the defendant's violation of26




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   U.S.C. § 7206(1) and relevant conduct related to that violation was greater than $100,000 and not

   more than $250,000.

           Specific Offense Characteristic - Losses between $550,000 to $1,500,000

           Defendant stipulates and agrees that losses in this case attributable to her wire fraud are more

   than $550,000, but do not exceed $1,500,000. Therefore, defendant stipulates and agrees that a 14-

   level increase is appropriate under USSG §2Bl.l(b)(l)(H). As part of this plea agreement,

   defendant stipulates and agrees that the following table identifies victims of her scheme and the

   amount of actual or intended loss atllibutable to her dealings with each victim: 1

              Victim Name                        Date(s)                     Actual or Intended
                                                                              Loss Amount(s)

    Jeffrey B. Mahaffey              December 2015                     $8,500
                                     January 2016                      $9,000
                                     Ap1il 2016                        $39,000
                                     June 2016                         $42,000
                                     August 2018                       $65,000
    Penny Hawk                       March 2017                        $23,000
                                     March 2019                        $34,000
                                     Ap1il 2019                        $9,500

    Bob and Debbie Chapman           November 2017                     $38,950
                                     March 2019                        $14,000
                                     May 2019                          $14,000

    Brenda and June Gill             June 2017                         $40,000
                                     October 2017                      $9,000

    Joe Minor                        November 2017                     $49,000
                                     March 2019                        $25,000
                                     May 2019                          $9,000
                                     June 2019                         $25,000




          1
             This table represents the best estimate ofloss for purposes of the United States Sentencing
   Guidelines. Based on the nature of her scheme, defendant often used funds from one victim to
   repay a previous victim. This table is for purposes of loss only and does not reflect amounts owed
   for restitution.
                                                     11




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    Deborah Tolliver                January 2019                     $25,000

    Kelly Fleenor                   February 2019                    $34,000

    Wilma Glover                    March 2019                       $34,000

    Randall Hawes                   March 2019                       $40,000

    Kevin Reep                      Apiil2019                        $40,000
                                    May 2019                         $80,000

    Joseph David Hatcher            April 2017                       $20,000

    Bobby Barr                      April 2018                       $29,500

    Michael Scalf                   May 2017                         $9,000

    Sidney Mullins and Ray          May2019                          $85,000
    Lewis

    Rick Sheets                     May 2019                         $17,000

    Richard King                    June 2019                        $125,000

    Scott Blankenship               May 2019                         $20,000

    Brad Buchanan                   August 2017                      $15,000

    Mike and Mitze Breuninger       February 2019                    $55,000

    Doug Robinette                  January 2019                     $18,000



          Specific Otiense Characteristic -10 or More Victims

          As part of her scheme, defendant defrauded more than ten victims as noted in the table

   above. Therefore, defendant stipulates and agrees that a two-level increase is appropriate under

   USSG §2B1.l(b)(2)(A)(i).




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              Specific Otiense Characteristic - Fraud During a Bankruptcy Proceeding

              Once defendant realized that she would be unable to repay all the individuals she had

   defrauded as well as her other creditors, defendant filed a petition for relief under the United States

   Bankruptcy Code in the United States Bankruptcy Court for the Eastern District of Tennessee and

   commenced the case styled, In re Tammy Lynn Hawk, Case No. 2:19-BK-50206. As part of that

   case, on May 8, 2019, defendant filed a sworn statement of financial affairs and sworn schedules of

   assets and liabilities. In those documents defendant knowingly made a number of false statements.

   For example, defendant failed to disclose the income she had received through her scheme and other

   sources in 2019:



    4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
         Fill in lhe total amount of income you received from oil jobs and oil businesses, including port-tnne act1V1tIes
         II you m e filing a joint case and you hove income that you receive together, list 11 only once under Deblor I

         0    No
         •    Yes F1ll I11 the uetmls

                                               Debtor 1                                                     Debtor 2
                                               Sources of income              Gross income                  Sources of income         Gross income
                                               Check all that apply.          (before deductions ond        Check oil that apply      (before deductions
                                                                              exclusions )                                            and exclus,ons)

     From January 1 of current year until
     the date you filed for bankruptcy:
                                               •   VI/ages. commissions,                   S2.572.0 1       • Wages. comm1ssIons,
                                               bonu ses, tips                                              bonuses. lips

                                               •   Opern11ng o business                                    •    Oix,rotmg o busmess




             Defendant also misrepresented and failed to disclose the amount of income she had received

   in 2017 and 2018 through her scheme and listed her income as follows during those years:




                                                                                    13




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             Case 2:19-bk-50206-MPP                   Doc 18 Filecf 03/08/19 Entered 03/08/19 16:42:36                              Desc
                                                                                                                                         3-'C'l:Jl:' .! 2~!.I
                                                      Main Document     Page 2 of 30
      Debtor 1   Tammy~ =
                        Ly~n_n_H~av._•k_ _ _ _ _ _ _ _ _ _ _ __ _                         Case number ,,, ,,,,,..,,1 _2_:1_9_
                                                                                                                            -b_k-_5_
                                                                                                                                   02_0_6 _ _ __         _


                                           Debtor 1                                             Debtor 2
                                           Sources of income          Gross income              Sources of income              Gross income
                                           Check all that apply.      (before deductions and    Check all that apply.          (before deductions
                                                                      exclusions)                                              and exclusions)
      For last calendar year:
      (January 1 to December 31 . 2018)
                                           •  Wages. commissions.               S58,035.29      D Wages. commissions,
                                                                                                bonuses. tips
                                           bonuses. tips

                                           D Operating a business                               D Operating a business

      For the calendar year before that:
      (January 1 to December 31, 2017)
                                           •  Wages. commissions.               $51.106.00      D Wages. commissions.
                                           bonuses, tips                                        bonuses. tips

                                           D   Operating a business                             D Operating a business



             Additionally, defendant fraudulently failed to disclose the debts owed to any of the

   individuals she had swindled, including the debt to Sidney Mullins and Roy Lewis, even though she

   had just taken $85,000 from them a week before her bankruptcy filing.

             Therefore, defendant stipulates and agrees that this case involves a misrepresentation or

   fraudulent conduct during the course of a bankruptcy proceeding, and a two-level increase is

   appropriate under USSG §2B I. I (b)(9)(B).

             Specific Offense Characteristic - Sophisticated Means

             As noted above, as part of her scheme, defendant used multiple sham contracts, a

   computerized signature program that permitted active concealment of her fraud, at least one forged

   signature, and numerous other false documents to hide and conceal what she was doing. Defendant

   also used her relationship with Home Source Direct, LLC, a business entity located in the state of

   Florida to perpetrate her scheme and provide an aura of legitimacy that did not exist. Defendant

   further made false statements in Internal Revenue Service tax returns and made false representations

   in her bankruptcy case to further hide and conceal her offense. Accordingly, defendant stipulates

   and agrees that a two-level increase for sophisticated means is appropriate under USSG

   §2B 1.1 (b )( 1O)(C).



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           Adjustment for Abuse of Position of Trust

           Defendant used her position of private trust and her special skill as a licensed real estate

   agent to commit these crimes. Often, defendant identified her victims from their status as prior real

   estate customers. In addition, defendant's status as a licensed real estate agent was a centerpiece to

   defendant's scheme, and the defrauded investors placed trust and confidence in defendant as a result

   of that status. Therefore, defendant stipulates and agrees that a two-level increase for abuse of a

   position of trust and use of a special skill is appropriate under USSG §3B 1.3.

           5.     The defendant is pleading guilty because the defendant is in fact guilty. The

   defendant understands that, by pleading guilty, the defendant is giving up several rights, including:

                  a)      the right to be indicted by a grand jury for these crimes;

                  b)      the right to plead not guilty;

                  c)      the right to a speedy and public trial by jury;

                  d)      the right to assistance of counsel at trial;

                  e)      the right to be presumed innocent and to have the burden of proof placed on

   the United States to prove the defendant guilty beyond a reasonable doubt;

                  f)      the right to confront and cross-examine witnesses against the defendant;

                  g)      the right to testify on one's own behalf, to present evidence in opposition to

   the charges, and to compel the attendance of witnesses; and

                  h)      the right not to testify and to have that choice not used against the defendant.

          6.      Pursuant to Rule l l(c)(l)(C), the defendant and the United States agree that a 10 year

   tenn of imprisonment followed by a three-year term of supervised release is the appropriate

   disposition of this case. Additionally, the Court may impose any lawful fines and any special

   assessment fees as required by law, and order forfeiture as applicable and restitution as appropriate.



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   In the event the Court declines to accept this agreement, either party will be free to withdraw from

   the plea agreement.

           7.     If the Court orders the defendant to pay restitution to the IRS for the failure to pay

   tax, either directly as part of the sentence or as a condition of supervised release, the IRS will use

   the restitution order as the basis for a civil assessment. See 26 U.S.C. § 6201(a)(4). The defendant

   does not have the right to challenge the amount of this assessment. See 26 U.S.C. § 6201(a)(4)(C).

   Neither the existence of a restitution payment schedule nor the defendant's timely payment of

   restitution according to that schedule will preclude the IRS from administrative collection of the

   restitution-based assessment, including levy and distraint under 26 U.S.C. § 6331.

          8.      Given the defendant's agreement to plead guilty, the United States will not oppose a

   two-level reduction for acceptance of responsibility under the provisions of Section 3El.l(a) of the

   Sentencing Guidelines. Further, if the defendant's offense level is 16 or greater, and the defendant

   is awarded the two-level reduction pursuant to Section 3El .1 (a), the United States agrees to move,

   at or before the time of sentencing, the Court to decrease the offense level by one additional level

   pursuant to Section 3El.l(b) of the Sentencing Guidelines. Should the defendant engage in any

   conduct or make any statements that are inconsistent with accepting responsibility for the

   defendant's offense(s), including violations of conditions of release or the commission of any

   additional offense(s) prior to sentencing, the United States will be free to decline to make such

   motion, to withdraw that motion if already made, and to recommend to the Court that the defendant

   not receive any reduction for acceptance ofresponsibility under Section 3El.l of the Sentencing

   Guidelines.

          9.      The defendant agrees to pay the special assessment in this case prior to sentencing.




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           10.     Unless otheIWise limited by an agreed preliminary order of forfeiture, the defendant

   agrees to forfeit to the United States immediately and voluntarily any and all assets and property, or

   portions thereof, which are in the possession or control of the defendant or the defendant's nominees

   that were used and intended to be used in any manner or part to commit and to facilitate the

   commission of a violation of 18 U.S.C. §§ 1343 and 1956(a)(l)(A)(i), and/or any and all assets and

   property, or portions thereof, subject to forfeiture as proceeds of the defendant's criminal activities

   which are in the possession or control of the defendant or the defendant's nominees.

           The defendant agrees to forfeit the defendant's interest in the following properties: A

   personal money judgment in the amount of $307,550.00 in favor of the United States and against the

   defendant, Tammy Lynn Hawk, which represents proceeds the defendant personally derived from

   the offense of 18 U .S.C. § 1343.

           The defendant further agrees to assist the United States fully in the identification, recovery,

   and return to the United States of any other assets or portions thereof subject to forfeiture. The

   defendant further agrees to make a full and complete disclosure of all assets over which the

   defendant exercises control and those which are held or controlled by a nominee. The defendant

   agrees to forfeit all interests in the properties as described above and to take whatever steps are

   necessary to pass clear title to the United States. These steps include, but are not limited to, the

   surrender of title, the signing of a consent decree of forfeiture, and the signing of any other

   documents necessary to effectuate such transfers. The defendant agrees not to object to any civil or

   criminal forfeiture brought against these properties. The defendant agrees to take all such steps to

   locate such property and to pass title to the United States before the defendant's sentencing.

          In the event a money judgment forfeiture is ordered, the Defendant agrees to send all money

   judgment payments to the United States Department of the Treasury. Defendant also agrees that the



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   full money judgment amount shall be considered due and payable immediately. If the defendant

   cannot pay the full amount immediately and is placed in custody, the defendant agrees that the

   Bureau of Prisons will have the authority to establish payment schedules to ensure payment of the

   money judgment. The defendant further agrees to cooperate fully in efforts to collect on the money

   judgment by set-off of federal payments, execution on non-exempt property, and any other means

   the United States deems appropriate. The defendant and counsel also agree that the defendant may

   be contacted post-judgment regarding the collection of the money judgment without notifying

   defendant's counsel and outside the presence of the defendant's counsel.

           11.    The defendant agrees that the Comt shall order restitution, pursuant to any applicable

   provision oflaw, for any loss caused to: (1) the victims of any offense charged in this case

   (including dismissed counts); and (2) the victims of any criminal activity that was part of the same

   course of conduct or common scheme or plan as the defendant's charged offenses.

           12.    Financial Obligations. The defendant agrees to pay all fines and/or restitution to the

   Clerk of Court. The defendant also agrees that the full fine and/or restitution amount(s) shall be

   considered due and payable immediately. If the defendant cannot pay the full amount immediately

   and is placed in custody or under the supervision of the Probation Office at any time, the defendant

   agrees that the Bureau of Prisons and the Probation Office will have the authority to establish

   payment schedules to ensure payment of the fine and/or restitution. The defendant further agrees to

   cooperate fully in efforts to collect any fmancial obligation imposed by the Court by set-off of

   federal payments, execution on non-exempt propetty, and any other means the United States deems

   appropriate. TI1e defendant and counsel also agree that the defendant may be contacted post-

   judgment regarding the collection of any financial obligation imposed by the Court without

   notifying the defendant's counsel and outside the presence of the defendant's counsel. In order to



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    facilitate the collection of financial obligations to be imposed with this prosecution, the defendant

    agrees to disclose fully all assets in which the defendant has any interest or over which the

    defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or

    other third party. In furtherance of this agreement, the defendant additionally agrees to the

    following specific terms and conditions:

                    a)     If so requested by the United States, the defendant will promptly submit a

    completed financial statement to the U.S. Attorney's Office, in a form it provides and as it directs.

    The defendant promises that such financial statement and disclosures will be complete, accurate,

    and truthful.

                    b)     The defendant expressly authorizes the U.S. Attorney's Office to obtain a

    credit report on the defendant in order to evaluate the defendant's ability to satisfy any financial

    obligation imposed by the Court.

                    c)     If so requested by the United States, the defendant will promptly execute

    authorizations on forms provided by the U.S. Attorney's Office to permit the U.S. Attorney's Office

    to obtain financial and tax records of the defendant.

            13.     The defendant acknowledges that the principal benefits to the United States of a plea

    agreement include the conservation of limited government resources and bringing a certain end to

   the case. Accordingly, in consideration of the concessions made by the United States in this

    agreement and as a further demonstration of the defendant's acceptance ofresponsibility for the

    offenses committed, the defendant voluntarily, knowingly, and intentionally agrees to the following:

                    a)     The defendant will not file a direct appeal of the defendant's convictions or

   sentence with one exception: The defendant retains the right to appeal a sentence imposed above

   the greater of ten years or the sentencing guideline range determined by the Court or above any



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    mandatory minimum sentence deemed applicable by the Court, whichever is greater. The defendant

    also waives the right to appeal the Court's detennination as to whether the defendant's sentence will

    be consecutive or partially concurrent to any other sentence.

                   b)      The defendant will not file any motions or pleadings pursuant to 28 U.S.C.

    § 2255 or otheiwise collaterally attack the defendant's conviction(s) or sentence, with two

    exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial

    misconduct and (ii) ineffective assistance of counsel.

                   c)      The defendant will not, whether directly or by a representative, request or

   receive from any department or agency of the United States any records pertaining to the

    investigation or prosecution of this case, including, without limitation, any records that may be

   sought under the Freedom oflnformation Act, 5 U.S.C. Section 552, or the Privacy Act of 1974,

   5 U.S.C. Section 552a.

           14.     This plea agreement becomes effective once it is signed by the parties and is not

   contingent on the defendant's entry of a guilty plea. If the United States violates the terms of this

   plea agreement, the defendant will have the right to withdraw from this agreement. If the defendant

   violates the te1ms of this plea agreement in any way (including but not limited to failing to enter

   guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any

   court order or any local, state or federal law pending the resolution of this case), then the United

   States will have the right to void any or all parts of the agreement and may also enforce whatever

   parts of the agreement it chooses. In addition, the United States may prosecute the defendant for

   any and all federal crimes that the defendant committed related to this case, including any charges

   that were dismissed and any other charges which the United States agreed not to pursue. The

   defendant expressly waives any statute of limitations defense and any constitutional or speedy trial



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   or double jeopardy defense to such a prosecution. The defendant also understands that a violation of

   this plea agreement by the defendant does not entitle the defendant to withdraw the defendant's

   guilty plea(s) in this case.

           15.     The terms of this plea agreement, including the terms regarding restitution, shall in

   no way limit the ability or right of the IRS to assess and collect taxes, interest, and penalties, if

   dete1mined to be owed by defendant. This paragraph shall include, without limitation, any civil

   fraud penalties imposed by 26 U.S.C. § 6663. The defendant agrees that, p1ior to the date of

   sentencing, she shall file or cause to be filed amended Forms 1040 for 2016, 2017, and 2018 as well

   as a Form 1040 for 2019 and shall, upon request from any representative of the IRS, provide any

   requested information and back-up documentation for those referenced forms. The defendant shall

   not, subsequent to filing those amended and initial Forms 1040 file any claims for refunds of taxes,

   penalties, and interest attributable to those forms.

           16.     Notwithstanding any tenns of this plea agreement to the contrary, this plea agreement

   is expressly conditioned upon approval by the Department of Justice, Criminal Tax Division. This

   plea agreement shall not be enforceable in any respects until that approval is provided. In the event

   that the Department of Justice, Criminal Tax Division does not provide that approval, this plea

   agreement shall be null and void and not enforceable against the United States.

           17.     The United States will file a supplement in this case, as required in every case by the

   Local Rules of the United States District Court for the Eastern District of Tennessee, even though

   there may or may not be any additional terms. If additional te1ms are included in the supplement,

   they are hereby fully incorporated herein.

          18.     This plea agreement and supplement constitute the full and complete agreement and

   understanding between the parties concerning the defendant's guilty plea to the above-referenced



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   charge(s), and there are no other agreements, promises, undertakings, or understandings between the

   defendant and the United States. The parties understand and agree that the terms of this plea

   agreement can be modified only in writing signed by all of the parties and that any and all other

   promises, representations, and statements whether made before, contemporaneous with, or after this

   agreement, are null and void.



                                                           J. DOUGLAS OVERBEY
                                                           UNI    STATES ATTORNEY


                                                By:
   Date                                                           . Heavener, III
                                                           Assistant United States Attorney



   Date




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